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                EXHIBIT 36
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                              Sec. 3. Enforcement Discretion to Ensure Lawful Governance.
                                (a) Subject to their paramount obligation to discharge their legal obligations,
                              protect public safety, and advance the national interest, agencies shall pre-
                              serve their limited enforcement resources by generally de-prioritizing actions
                              to enforce regulations that are based on anything other than the best reading
                              of a statute and de-prioritizing actions to enforce regulations that go beyond
                              the powers vested in the Federal Government by the Constitution.
                                 (b) Agency heads shall determine whether ongoing enforcement of any
                              regulations identified in their regulatory review is compliant with law and
                              Administration policy. To preserve resources and ensure lawful enforcement,
                              agency heads, in consultation with the Director of the Office of Management
                              and Budget, shall, on a case-by-case basis and as appropriate and consistent
                              with applicable law, then direct the termination of all such enforcement
                              proceedings that do not comply with the Constitution, laws, or Administra-
                              tion policy.
                              Sec. 4. Promulgation of New Regulations. Agencies shall continue to follow
                              the processes set out in Executive Order 12866 for submitting regulations
                              for review by OIRA. Additionally, agency heads shall consult with their
                              DOGE Team Leads and the Administrator of OIRA on potential new regula-
                              tions as soon as practicable. In evaluating potential new regulations, agency
                              heads, DOGE Team Leads, and the Administrator of OIRA shall consider,
                              in addition to the factors set out in Executive Order 12866, the factors
                              set out in section 2(a) of this order.
                              Sec. 5. Implementation. The Director of the Office of Management and
                              Budget shall issue implementation guidance, as appropriate.
                              Sec. 6. Definitions. (a) ‘‘Agency’’ has the meaning given to it in 44 U.S.C.
                              3502, except it does not include the Executive Office of the President or
                              its components.
                                 (b) ‘‘Agency head’’ shall mean the highest-ranking official of an agency,
                              such as the Secretary, Administrator, Chairman, or Director.
                                (c) ‘‘DOGE Team Lead’’ shall mean the leader of the DOGE Team at
                              each agency as described in Executive Order 14158 of January 20, 2025
                              (Establishing and Implementing the President’s ‘‘Department of Government
                              Efficiency’’).
                                (d) ‘‘Enforcement action’’ means all attempts, civil or criminal, by any
                              agency to deprive a private party of life, liberty, or property, or in any
                              way affect a private party’s rights or obligations, regardless of the label
                              the agency has historically placed on the action.
                                (e) ‘‘Regulation’’ shall have the meaning given to ‘‘regulatory action’’ in
                              section 3(e) of Executive Order 12866, and also includes any ‘‘guidance
                              document’’ as defined in Executive Order 13422 of January 18, 2007 (Further
                              Amendment to Executive Order 12866 on Regulatory Planning and Review).
                                (f) ‘‘Senior appointee’’ means an individual appointed by the President,
                              or performing the functions and duties of an office that requires appointment
                              by the President, or a non-career member of the Senior Executive Service
                              (or equivalent agency system).
                              Sec. 7. Exemptions. Notwithstanding any other provision in this order, noth-
                              ing in this order shall apply to:
                                (a) any action related to a military, national security, homeland security,
                              foreign affairs, or immigration-related function of the United States;
                                (b) any matter pertaining to the executive branch’s management of its
                              employees; or
                                (c) anything else exempted by the Director of the Office of Management
                              and Budget.
                              Sec. 8. Severability. If any provision of this order, or the application of
                              any provision to any person or circumstance, is held to be invalid, the
                              remainder of this order and the application of its provisions to any other
                              persons or circumstances shall not be affected thereby.
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                                       Sec. 9. General Provisions. (a) Nothing in this order shall be construed
                                       to impair or otherwise affect:
                                         (i) the authority granted by law to an executive department, agency, or
                                         the head thereof; or
                                         (ii) the functions of the Director of the Office of Management and Budget
                                         relating to budgetary, administrative, or legislative proposals.
                                         (b) This order shall be implemented consistent with applicable law and
                                       subject to the availability of appropriations.
                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.




                                       THE WHITE HOUSE,
                                       February 19, 2025.


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